 Case: 1:18-cv-02880 Document #: 1 Filed: 04/23/18 Page 1 of 6 PageID #:1




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

LENORA CHATMAN and                 )
ALFREDO CHATMAN,                   )
                                   )                Case No.
                 Plaintiffs,       )
                                   )                Judge
             v.                    )
                                   )                Magistrate Judge
P.O. JONATHAN DIBIASE #14050, P.O. )
MILTON KINNISON #12440, P.O.       )
WAYNE OZMINA #6579, P.O. GUY       )                JURY DEMAND
HABIAK #9921, P.O. CRISTA BARTON )
#13036, P.O. HOWARD DIXON #15410 )
P.O. COREY WALKER #1730, and       )
THE CITY OF CHICAGO, a municipal )
corporation,                       )
                 Defendants.       )


                                 COMPLAINT AT LAW

       NOW      COMES      the   Plaintiff,   LENORA     CHATMAN        and   ALFREDO

CHATMAN, by and through their attorneys, Gregory E. Kulis & Associates, Ltd., and

complaining against the Defendants, P.O. JONATHAN DIBIASE #14050, P.O.

MILTON KINNISON #12440, P.O. WAYNE OZMINA #6579, P.O. GUY HABIAK

#9921, P.O. CRISTA BARTON #13036, P.O. HOWARD DIXON #15410, P.O. COREY

WALKER #1730 and THE CITY OF CHICAGO, a municipal corporation, as follows:

                      COUNT I – UNREASONABLE SEARCH

       1. This action is brought pursuant to the laws of the United States Constitution,

specifically, 42 U.S.C. §1983 and §1988, and the laws of the State of Illinois, to redress

deprivations of the Civil Rights of the Plaintiffs, LENORA CHATMAN and ALFREDO

CHATMAN accomplished by acts and/or omissions of the Defendants, P.O.
    Case: 1:18-cv-02880 Document #: 1 Filed: 04/23/18 Page 2 of 6 PageID #:2




JONATHAN DIBIASE #14050, P.O. MILTON KINNISON #12440, P.O. WAYNE

OZMINA #6579, P.O. GUY HABIAK #9921, P.O. CRISTA BARTON #13036, P.O.

HOWARD DIXON #15410, AND P.O. COREY WALKER #1730, committed under

color of law.

        2. Jurisdiction is based on Title 28 U.S.C. §1343 and §1331 and supplemental

jurisdiction of the State of Illinois.

        3. The Plaintiffs, LENORA CHATMAN and ALFREDO CHATMAN were at

all relevant times United States citizens and residents of the State of Illinois.

        4. At all relevant times, the Defendants, P.O. JONATHAN DIBIASE #14050,

P.O. MILTON KINNISON #12440, P.O. WAYNE OZMINA #6579, P.O. GUY

HABIAK #9921, P.O. CRISTA BARTON #13036, P.O. HOWARD DIXON #15410,

AND P.O. COREY WALKER #1730 were duly appointed Chicago Police Officers

acting within their scope of their employment and under color of law.

        5. On or about August 17, 2017 the Plaintiffs, LENORA CHATMAN AND

ALFREDO CHATMAN were in their home at 8724 S. Bishop, Chicago, Illinois.

        6. The Defendants, P.O. JONATHAN DIBIASE #14050, P.O. MILTON

KINNISON #12440, P.O. WAYNE OZMINA #6579, P.O. GUY HABIAK #9921, P.O.

CRISTA BARTON #13036, P.O. HOWARD DIXON #15410, AND P.O. COREY

WALKER #1730, came to their home and busted in the door.

        7. The Defendants entered upon the premises and took the two Plaintiffs into

custody.

        8. The Plaintiff, ALFREDO CHATMAN, was handcuffed.

        9. The Plaintiffs were not committing a crime or breaking any laws.




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    Case: 1:18-cv-02880 Document #: 1 Filed: 04/23/18 Page 3 of 6 PageID #:3




        10. The Defendants did not have an arrest warrant, probable cause or a search

warrant when they first entered the home.

        11. The Defendants destroyed the interior of the Plaintiffs’ home.

        12. The Defendants destroyed and damaged much of the Plaintiffs’ furnishings

and personal items.

        13. The Defendants laughed and joked as they broke and destroyed things in the

home.

        14. The Defendants also unlawfully searched the Plaintiff, ALFREDO

CHATMAN’S vehicle without a search warrant.

        15. The actions of the Defendants were excessive.

        16. The actions of the Defendants were unreasonable.

        17. The Defendants were acting pursuant to the customs, policies, and procedures

of the Chicago Police Department.

        18. As a direct and proximate consequence of said conduct of the Defendants,

P.O. JONATHAN DIBIASE #14050, P.O. MILTON KINNISON #12440, P.O. WAYNE

OZMINA #6579, P.O. GUY HABIAK #9921, P.O. CRISTA BARTON #13036, P.O.

HOWARD DIXON #15410, AND P.O. COREY WALKER #1730, the Plaintiffs suffered

emotional anxiety, fear, humiliation, pain and suffering, monetary loss and damages.

        19. Said actions of the Defendants, P.O. JONATHAN DIBIASE #14050, P.O.

MILTON KINNISON #12440, P.O. WAYNE OZMINA #6579, P.O. GUY HABIAK

#9921, P.O. CRISTA BARTON #13036, P.O. HOWARD DIXON #15410, AND P.O.

COREY WALKER #1730, violated the Plaintiffs, Fourth and Fourteenth Amendment




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    Case: 1:18-cv-02880 Document #: 1 Filed: 04/23/18 Page 4 of 6 PageID #:4




Rights of the United States Constitution and were in violation of said rights protected by

42 U.S.C. §1983.

             WHEREFORE, the Plaintiffs, LENORA and ALFREDO CHATMAN, prays

for judgment in their favor and against the Defendants, P.O. JONATHAN DIBIASE

#14050, P.O. MILTON KINNISON#12440, P.O. WAYNE OZMINA #6579, P.O. GUY

HABIAK #9921, P.O. CRISTA BARTON #13036, P.O. HOWARD DIXON #15410,

AND P.O. COREY WALKER #1730, jointly and severally, for a reasonable amount in

compensatory damages, punitive damages, plus attorneys’ fees and costs.

                      COUNT II – EXCESSIVE FORCE AND SEIZURE

        1-19. The Plaintiffs hereby re-allege and incorporate their allegations of

paragraphs 1-19 of Count I as their respective allegations of paragraphs 1-19 of Count II

as though fully set forth herein.

        20     The Plaintiff ALFREDO CHATMAN was handcuffed too tightly and

complained until he started bleeding.

        21. The actions of the Defendants were a seizure and an unlawful holding of the

Plaintiffs for approximately five (5) hours.

        22. As a direct and proximate consequence of said conduct of the Defendants,

P.O. JONATHAN DIBIASE #14050, P.O. MILTON KINNISON #12440, P.O. WAYNE

OZMINA #6579, P.O. GUY HABIAK #9921, P.O. CRISTA BARTON #13036, P.O.

HOWARD DIXON #15410, AND P.O. COREY WALKER #1730, the Plaintiffs suffered

emotional anxiety, discomfort, fear, humiliation, and pain and suffering.

        23. Said actions of the Defendants, P.O. JONATHAN DIBIASE #14050, P.O.

MILTON KINNISON #12440, P.O. WAYNE OZMINA #6579, P.O. GUY HABIAK




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    Case: 1:18-cv-02880 Document #: 1 Filed: 04/23/18 Page 5 of 6 PageID #:5




#9921, P.O. CRISTA BARTON #13036, P.O. HOWARD DIXON #15410, AND P.O.

COREY WALKER #1730, violated the Plaintiffs, Fourth and Fourteenth Amendment

Rights of the United States Constitution and were in violation of said rights protected by

42 U.S.C. §1983.

          WHEREFORE, the Plaintiff. ALFREDO CHATMAN, prays for judgment in his

favor and against the Defendants, P.O. JONATHAN DIBIASE #14050, P.O. MILTON

KINNISON #12440, P.O. WAYNE OZMINA #6579, P.O. GUY HABIAK #9921, P.O.

CRISTA BARTON #13036, P.O. HOWARD DIXON #15410, AND P.O. COREY

WALKER #1730, jointly and severally, for a reasonable amount in compensatory

damages, punitive damages, plus attorneys’ fees and costs.

               COUNT III—INDEMNIFICATION / CITY OF CHICAGO

          1-23. The Plaintiffs re-allege and incorporates the allegations contained in

paragraphs 1-23 of Count I as their respective allegations of paragraphs 1-23 of Count III

as though fully set forth herein.

          23. Illinois law provides that public entities are directed to pay any tort judgment

for compensatory damages for which employees are liable within the scope of their

employment activities.

          24. Defendants, P.O. JONATHAN DIBIASE #14050, P.O. MILTON KINNISON

#12440, P.O. WAYNE OZMINA #6579, P.O. GUY HABIAK #9921, P.O. CRISTA

BARTON #13036, P.O. HOWARD DIXON #15410, AND P.O. COREY WALKER

#1730 were at all relevant times were employees of the Defendant, CITY OF CHICAGO,

and acted within the scope of their employment in committing the misconduct described

herein.




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    Case: 1:18-cv-02880 Document #: 1 Filed: 04/23/18 Page 6 of 6 PageID #:6




        WHEREFORE, should Defendants, P.O. JONATHAN DIBIASE #14050, P.O.

MILTON KINNISON #12440, P.O. WAYNE OZMINA #6579, P.O. GUY HABIAK

#9921, P.O. CRISTA BARTON #13036, P.O. HOWARD DIXON #15410, AND P.O.

COREY WALKER #1730 be found liable for the acts alleged above, Defendant CITY

OF CHICAGO would be liable to pay the Plaintiff any judgment obtained against said

Defendants.

                                      JURY DEMAND

        The Plaintiffs, LENORA CHATMAN and ALFREDO CHATMAN hereby

request a trial by jury.

                                           Respectfully submitted,

                                           /s/ Gregory E. Kulis
                                           Gregory E. Kulis & Associates, Ltd.




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